                 Case 8:20-cv-00048-JVS-JDE Document 1443 Filed 03/17/23 Page 1 of 19 Page ID
                                                 #:139423

                  0$5.'6(/:<16%1
                      PDUNVHOZ\Q#ZLOPHUKDOHFRP
                  7+20$6*635$1./,1*6%1
                   WKRPDVVSUDQNOLQJ#ZLOPHUKDOHFRP
                  :,/0(5&87/(53,&.(5,1*
                   +$/($1''255//3
                  (O&DPLQR5HDO6XLWH
                   3DOR$OWR&$
                  7HO)D[
                  -26+8$+/(51(56%1
                     MRVKXDOHUQHU#ZLOPHUKDOHFRP
                  :,/0(5&87/(53,&.(5,1*
                    +$/($1''255//3
                  2QH)URQW6WUHHW6XLWH
                   6DQ)UDQFLVFR&$
                  7HO)D[
                 $0<.:,*025(pro hac vice
                   DP\ZLJPRUH#ZLOPHUKDOHFRP
                 :,/0(5&87/(53,&.(5,1*
                      +$/($1''255//3
                 3HQQV\OYDQLD$YH1:
                   :DVKLQJWRQ'&
                 7HO)D[
                 >&RXQVHODSSHDUDQFHFRQWLQXHVRQQH[WSDJH@
                 Attorneys for Defendant Apple Inc.
                   




                                    UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION

                 0$6,02&25325$7,21                           &$6(12FY-96 -'([ 
                   D'HODZDUHFRUSRUDWLRQDQG
                 &(5&$&25/$%25$725,(6,1&                  APPLE’S MEMORANDUM
                   D'HODZDUHFRUSRUDWLRQ                       REGARDING PLAINTIFFS’
                                                                DISCLOSURE OF ALLEGED LOST
                                         3ODLQWLIIV             PROFITS
           
                            Y
           
                   $33/(,1&
                 D&DOLIRUQLDFRUSRUDWLRQ
                                       'HIHQGDQW
           
           
                           5('$&7('9(56,212)'2&80(17352326('72%(),/('81'(56($/
           
           
                       $33/(¶60(025$1'805(*$5',1*3/$,17,))6¶',6&/2685(2)$//(*('/267352),76
Wilmer Cutler
                                                                           &$6(12FY-96 -'(; 
Pickering Hale
and Dorr LLP
                 Case 8:20-cv-00048-JVS-JDE Document 1443 Filed 03/17/23 Page 2 of 19 Page ID
                                                 #:139424
                   
                  -26(3+-08(//(5pro hac vice
                   MRVHSKPXHOOHU#ZLOPHUKDOHFRP
                  6$5$+5)5$=,(5pro hac vice
                      VDUDKIUD]LHU#ZLOPHUKDOHFRP
                  :,/0(5&87/(53,&.(5,1*
                      +$/($1''255//3
                  6WDWH6WUHHW
                   %RVWRQ0$
                  7HO)D[
                   
                  125$4(3$66$0$1(&.pro hac vice
                      QRUDSDVVDPDQHFN#ZLOPHUKDOHFRP
                  :,/0(5&87/(53,&.(5,1*
                      +$/($1''255//3
                  6HYHQWHHQWK6WUHHW6XLWH
                   'HQYHU&2
                  7HO)D[
                   
                 %5,$1$526(17+$/pro hac vice
                   EURVHQWKDO#JLEVRQGXQQFRP
                 *,%621'811 &587&+(5//3
                   3DUN$YHQXH
                 1HZ<RUN1<
                   7HO)D[
                 
                   .(11(7+*3$5.(56%1
                 NHQSDUNHU#KD\QHVERRQHFRP
                   +$<1(6$1'%221(//3
                 $QWRQ%RXOHYDUG6XLWH
                   &RVWD0HVD&$
                 7HO)D[
                   
                 
                   
           
           
           
           
           
           
           
           
           
           
                                                            
                     $33/(¶60(025$1'805(*$5',1*3/$,17,))6¶',6&/2685(2)$//(*('/267352),76
Wilmer Cutler
                                                                       &$6(12FY-96 -'(; 
Pickering Hale     
and Dorr LLP
                   
                 Case 8:20-cv-00048-JVS-JDE Document 1443 Filed 03/17/23 Page 3 of 19 Page ID
                                                 #:139425
                   
             
                                                              TABLE OF CONTENTS
                  ,1752'8&7,21
                  $5*80(17
                  ,      3/$,17,))6¶1(:/267352),7',6&/2685(,6*5266/<817,0(/<$1'
                            35(-8',&,$/
             
                            $      3ODLQWLIIV+DYH5HSHDWHGO\'HOD\HG²$QG%HHQ:DUQHG$ERXW
                                    7KHLU'HOD\V²,Q'LVFORVLQJ'DPDJHV7KHRULHV
                           %      3ODLQWLIIV¶'LVFORVXUH2I7KHLU1HZHVW/RVW3URILWV7KHRU\,V
                                     8QWLPHO\$QG3UHMXGLFLDO
             
                   ,,     3/$,17,))6¶1(:/267352),7',6&/2685(5(/,(621675,&.(1$1'
                          817,0(/<',6&/26(',1)250$7,21
                 ,,,    3/$,17,))6¶1(:/267352),7&$1127%(35(6(17(':,7+287$)5&3
                             $  % (;3(57:,71(66
           
                   &21&/86,21
           
                   
                                                     
           
           
           
           
           
           
           
           
           
           
           
           
           
                                                                                 
                       $33/(¶60(025$1'805(*$5',1*3/$,17,))6¶',6&/2685(2)$//(*('/267352),76
Wilmer Cutler
                                                              L          &$6(12FY-96 -'(; 
Pickering Hale     
and Dorr LLP
                   
                 Case 8:20-cv-00048-JVS-JDE Document 1443 Filed 03/17/23 Page 4 of 19 Page ID
                                                 #:139426

             1                                              TABLE OF AUTHORITIES
             2
                                                                                                                                        Page(s)
             3
                   Cases
             4
                   Centricut, LLC v. Esab Grp., Inc.,
             5
                     390 F.3d 1361 (Fed. Cir. 2004) .......................................................................... 12
             6
                   Chaudhry v. Smith,
             7       No. 1:16-CV-01243-SAB, 2020 WL 869115 (E.D. Cal. Feb. 21, 2020) ............. 7
             8
                   Hoffman v. Constr. Prot. Servs., Inc.,
             9       541 F.3d 1175 (9th Cir. 2008) .............................................................................. 6
           10      tagTrends, Inc. v. Nordstrom, Inc.,
           11         No. SACV-13-00563-JVS, 2014 WL 12561604 (C.D. Cal. Sept. 30,
                      2014) (Selna, J.) .................................................................................................... 6
           12
                   Yeti by Molly, Ltd. v. Deckers Outdoor Corp.,
           13
                      259 F.3d 1101 (9th Cir. 2001) .............................................................................. 6
           14
           15
           16
           17
           18
           19
           20
           21
           22
           23
           24
           25
           26
           27
           28
                    APPLE’S MEMORANDUM REGARDING PLAINTIFFS’ DISCLOSURE OF ALLEGED LOST PROFITS
Wilmer Cutler
                                                           ii           CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
                 Case 8:20-cv-00048-JVS-JDE Document 1443 Filed 03/17/23 Page 5 of 19 Page ID
                                                 #:139427
                   
                                                       INTRODUCTION
                           )ROORZLQJWKH&RXUW¶VJXLGDQFHGXULQJWKHSUHWULDOFRQIHUHQFH$SSOHVXEPLWV
                  WKLVPHPRUDQGXPWRDGGUHVVWKHVHYHUHXQWLPHOLQHVVDQGVXEVWDQWLYHGHILFLHQFLHVRI
                  3ODLQWLIIV¶³GLVFORVXUH´RIDOOHJHGORVWSURILWVGDPDJHV(DUOLHUWKLVZHHNWKLV&RXUW
                  FRUUHFWO\REVHUYHGWKDW$SSOHZDVHQWLWOHGWRDFDOFXODWLRQRIORVWSURILWVZLWKVXIILFLHQW
                  WLPHWRSUHSDUHDGHIHQVH<HW3ODLQWLIIV¶GLVFORVXUHUHYHDOVWKDWWKH\²KDYLQJKDG
                  WKHLUGDPDJHVH[SHUW¶VRSLQLRQVRQORVWSURILWVVWULFNHQ²LQVWHDGLQWHQGWRSURFHHGRQD
                  QHYHUSUHYLRXVO\GLVFORVHG³IDFW´WKHRU\WKDWZRXOGQHDUO\doubleWKHGDPDJHV
                  DPRXQWRIWKHLUH[SHUW¶VVWULFNHQWKHRU\8QGHUVLJQHGFRXQVHOLVQRWDZDUHRIDQ\
                 FDVHLQDQ\DUHDRIWKHODZZKHUHDSDUW\ORVWDGDPDJHVWKHRU\RQDaubert DQGZDV
                 WKHQSHUPLWWHGWRSXUVXHQHDUO\GRXEOHGGDPDJHVWKURXJKIDFWZLWQHVVHVEDVHGRQD
                 QHZFDOFXODWLRQ7KDW3ODLQWLIIV¶RQO\XQYHLOHGWKHLUWKHRU\QRZRQWKHHYHRIWULDO²
                 DQGRQO\DIWHUWKH&RXUWGLUHFWHGWKHPWRGLVFORVHLW²PDNHVWKLVJDPELWHYHQPRUH
                 SUREOHPDWLF
                          3ODLQWLIIV¶EHODWHGGLVFORVXUHWDNHVWKHIRUPRIDEULHIHPDLOVHQWWR$SSOHRQ
                 0DUFKWKDWUHYHDOVIRUWKHILUVWWLPH3ODLQWLIIV¶LQWHQWWRVHHN                  LQ
                 SXUSRUWHGORVWSURILWV1RWRQO\GRHVWKLVQHYHUEHIRUHGLVFORVHGFDOFXODWLRQQHDUO\
                 GRXEOHWKHRQO\ORVWSURILWVFDOFXODWLRQVWKDWKDGEHHQGLVFORVHG WKHQRZVWULFNHQ
                 RSLQLRQRI3ODLQWLIIV¶H[SHUW-HIIUH\.LQULFK LWLVDOVRDSSDUHQWIURP3ODLQWLIIV¶HPDLO
                 DQGWKHLUPHPRUDQGXPRIIDFWDQGODZWKDWWKHQHZFDOFXODWLRQLVIDFLDOO\LQDGPLVVLEOH
                 DQGXQUHOLDEOH,QGHHG3ODLQWLIIV¶QHZFDOFXODWLRQUHOLHVRQWKHVDPHXQWLPHO\
                 GLVFORVHGIDFWVDQGRSLQLRQVWKH&RXUWalready excludedLQDGGLWLRQWRRWKHUXQWLPHO\
                 GLVFORVHGDQGLQDGPLVVLEOHIDFWVLQFOXGLQJKHDUVD\
                          3ODLQWLIIV¶EODWDQWGLVUHJDUGRIWKHLUGLVFRYHU\REOLJDWLRQVZDUUDQWVVDQFWLRQV
                 XQGHU)HGHUDO5XOHRI&LYLO3URFHGXUH F ²ZKLFKDWDPLQLPXPVKRXOGLQFOXGH
                 SUHFOXVLRQRIWKLVQHZGDPDJHVUHTXHVWDWWULDO3ODLQWLIIVKDYHEHHQUHSHDWHGO\SXWRQ
                 QRWLFHE\ERWKWKLV&RXUWDQGWKH6SHFLDO0DVWHUWKDWWKH\FRXOGQRWZLWKKROGWKHLU
                                                                
                       $33/(¶60(025$1'805(*$5',1*3/$,17,))6¶',6&/2685(2)/267352),76
Wilmer Cutler
                                                                        &$6(12FY-96 -'(; 
Pickering Hale     
and Dorr LLP
                   
                 Case 8:20-cv-00048-JVS-JDE Document 1443 Filed 03/17/23 Page 6 of 19 Page ID
                                                 #:139428
                   
                  GDPDJHVFODLPVDQGWKHRULHVIURP$SSOH3ODLQWLIIVLJQRUHGWKRVHZDUQLQJV1RZ
                  3ODLQWLIIVVHHNPRUH LQORVWSURILWVWKDQWKH\HYHUFODLPHGEHIRUHZLWKRXWJLYLQJ$SSOH
                  WKHQHFHVVDU\QRWLFHWRFKDOOHQJHWKHXQUHDVRQDEOHEDVHVIRUWKHLUFODLP$QGZKLOH
                  $SSOHQHHGQRWVKRZSUHMXGLFHIRUFLQJ$SSOHWRGHIHQGLWVHOIDJDLQVWDQLQIODWHGDQG
                  XQWLPHO\GLVFORVHG                GROODUGDPDJHVGHPDQGZLWKMXVWZHHNVWRSUHSDUHLV
                  PDQLIHVWO\DQGXQGHQLDEO\SUHMXGLFLDO
                           $SSOHWKHUHIRUHUHVSHFWIXOO\UHTXHVWVDWHOHSKRQHFRQIHUHQFHZLWKWKH&RXUW RU
                  LIWKH&RXUWSUHIHUVDQLQSHUVRQKHDULQJ DQGVXEPLWVWKDW3ODLQWLIIVVKRXOGEH
                  SUHFOXGHGIURPVHHNLQJORVWSURILWVDWWULDO
                                                        ARGUMENT
                 I.       PLAINTIFFS’ NEW LOST PROFIT DISCLOSURE IS GROSSLY UNTIMELY AND
                          PREJUDICIAL.
                          A.    Plaintiffs Have Repeatedly Delayed—And Been Warned About Their
                                Delays—In Disclosing Damages Theories.
                          %RWKWKLV&RXUWDQGWKH6SHFLDO0DVWHUUHSHDWHGO\FDXWLRQHG3ODLQWLIIVWRFOHDUO\
                 DQGWLPHO\GLVFORVHWKHLUGDPDJHVWKHRULHVEHIRUHWKHFORVHRIIDFWGLVFRYHU\See, e.g.
                 'NWDW 7KLV&RXUW³LVQRWDPHQDEOHWRDSDUW\ZLWKKROGLQJQHFHVVDU\
                 GLVFRYHU\XQWLOWKHHYHRIWKHFORVHRIGLVFRYHU\DQGRUH[SHUWUHSRUWV>@´  TXRWLQJ
                 'NW 'NWDW 6SHFLDO0DVWHURUGHULQJ3ODLQWLIIVWRSURYLGHGDPDJHV
                 GLVFORVXUHVXQGHU)5&3 D DQGQRWLQJWKDW³0DVLPRKDVQRWSURYLGHGDQ\
                 LQIRUPDWLRQ\HWDERXWZKHWKHUµWKLVLVDFDVHRUDFDVHZRUWKELOOLRQV¶´ 3ODLQWLIIV
                 ZHUHZDUQHGWKDWWKH\³PXVWFDUHIXOO\FRQVLGHU´WKHLUUHVLVWDQFHWRGDPDJHVUHODWHG
                 GLVFRYHU\EHFDXVH³$SSOHVKRXOGEHDEOHWRGHOYHLQWR>3ODLQWLIIV¶@specific damages
                 theoryZKLOHLWstill has time remaining in discoveryWRGRVR´DQGWKDW³UHVLVWDQFH
                 ZLOOVHUYHRQO\WROLPLWWKHGDPDJHV>WKH\@FDQVHHN´'NWDW3ODLQWLIIV
           
                                               
                 
                       $OOHPSKDVHVDGGHGXQOHVVRWKHUZLVHLQGLFDWHG
                                                              
                       $33/(¶60(025$1'805(*$5',1*3/$,17,))6¶',6&/2685(2)/267352),76
Wilmer Cutler
                                                                        &$6(12FY-96 -'(; 
Pickering Hale     
and Dorr LLP
                   
                 Case 8:20-cv-00048-JVS-JDE Document 1443 Filed 03/17/23 Page 7 of 19 Page ID
                                                 #:139429
                   
                  QHYHUWKHOHVVZLWKKHOGWKHLUGDPDJHVWKHRULHVGXULQJIDFWGLVFRYHU\DQGDWWHPSWHG
                  LQVWHDGWR³EDFNGRRUWKHLUGDPDJHVFDVHWKURXJKSLHFHPHDOZULWWHQGLVFORVXUHV
                  FRPELQHGZLWKSURSRVHGEHODWHGGHFODUDWLRQV´WKDW³FRQWDLQ>HG@SUHYLRXVO\
                  XQGLVFORVHGIXOO\IRUPHGGDPDJHVWKHRULHV´'NWDW7KLV&RXUWJUDQWHG
                  $SSOH¶VPRWLRQWRVWULNHWKRVHEHODWHGWKHRULHVQRWLQJHYHQDWWKDWWLPH²fourmonths
                  EHIRUHWULDO²WKDWDOORZLQJ3ODLQWLIIVWRSURFHHGZLWKWKHP³ZRXOGSUHMXGLFH$SSOHDW
                  WKLVODWHKRXU´Id.6LQFHWKHQ3ODLQWLIIV¶SDWWHUQRIGHOD\DQGREIXVFDWLRQKDV
                  FRQWLQXHGLIQRWLQWHQVLILHG
                           'XULQJWKH)HEUXDU\KHDULQJRQVXPPDU\MXGJPHQWDQGDaubert
                 PRWLRQVWKLV&RXUWREVHUYHGWKDW³LQWKHDEVWUDFW>3ODLQWLIIVFRXOG@SXWLQDGDPDJHV
                 FDVHZLWKRXW>WKHLUH[SHUW@´EXWZDUQHGWKDW³LI>3ODLQWLIIV@JRWKDWURXWHWKHUHZRXOG
                 EHGLVFORVXUHLVVXHV´+U¶J7UDW1RWZLWKVWDQGLQJWKLVZDUQLQJDIWHU
                 WKH&RXUWH[FOXGHG3ODLQWLIIV¶H[SHUW0U.LQULFK¶VORVWSURILWVRSLQLRQ3ODLQWLIIV
                 SURYLGHGQRGLVFORVXUHWR$SSOHRIDQ\ORVWSURILWVWKH\LQWHQGHGWRVHHNRUKRZWKH\
                 LQWHQGHGWRSURYHLW,QGHHGZKHQ3ODLQWLIIVSURYLGHGWKHLULQLWLDOMXU\LQVWUXFWLRQVWR
                 $SSOHRQ)HEUXDU\WKH\GLGQRWHYHQVHHNDQLQVWUXFWLRQRQORVWSURILWV
                          2Q)HEUXDU\3ODLQWLIIVILOHGWKHLU0HPRUDQGXPRI&RQWHQWLRQVRI)DFW
                 DQG/DZ'NW7KHWHUP³ORVWSURILWV´LVPHQWLRQHGMXVWRQFHLQWKDW
                 PHPRUDQGXPDQGRQO\LQWKHOHJDOVWDQGDUGVVHFWLRQId.DW,QVWHDG3ODLQWLIIV
                 YDJXHO\FODLPHGWKDW³0DVLPR>Z@DV>K@DUPHG´DQGWKDW0DVLPR&(2-RH.LDQL³ZLOO
                 WHVWLI\WKDW                                                                              
                                                                                                         
                                                                                      ´DQG³ZLOOWHVWLI\WR
           
                                             
                   
                  $SSOH¶VSURSRVHGMXU\LQVWUXFWLRQVGLGLQFOXGHWKH&$&,PRGHOMXU\LQVWUXFWLRQRQ
                   ORVWSURILWVLQYLHZRIWKH&RXUW¶VSULRUREVHUYDWLRQWKDW3ODLQWLIIVFRXOGWKHRUHWLFDOO\
                 SXUVXHORVWSURILWVGDPDJHV2IFRXUVH$SSOH¶VSURSRVDOZDVQRWZLWKSUHMXGLFHWRLWV
                   ULJKWWRFKDOOHQJHWKHLQVXIILFLHQF\RI3ODLQWLIIV¶GLVFORVXUHVRUHYLGHQFHRQWKHWRSLF
                                                               
                       $33/(¶60(025$1'805(*$5',1*3/$,17,))6¶',6&/2685(2)/267352),76
Wilmer Cutler
                                                                        &$6(12FY-96 -'(; 
Pickering Hale     
and Dorr LLP
                   
                 Case 8:20-cv-00048-JVS-JDE Document 1443 Filed 03/17/23 Page 8 of 19 Page ID
                                                 #:139430
                   
                  SULFLQJDQG0DVLPR¶VVWDQGDUGPDUJLQV´Id.DW1RZKHUHGLG3ODLQWLIIV
                  GLVFORVHwhat DPRXQWRIORVWSURILWVWKH\ZHUHVHHNLQJRUKRZWKH\ZRXOGFDOFXODWHLW
                           B.    Plaintiffs’ Disclosure Of Their Newest Lost Profits Theory Is
                                 Untimely And Prejudicial.
                           2Q0DUFK²OHVVWKDQthree weeksEHIRUHWULDO²3ODLQWLIIVSURYLGHG
                  LGHQWLILFDWLRQRIWKHLUQHZORVWSURILWVGHPDQG               WKURXJK4([
                  >/RVW3URILWV'LVFORVXUH(PDLO7KUHDG@DW$FFRUGLQJWR3ODLQWLIIV³0DVLPR
                  UHSHDWHGO\GLVFORVHGLWVFRQWHQWLRQWKDWEXWIRU$SSOH¶VPLVDSSURSULDWLRQ$SSOHZRXOG
                  KDYHSXUFKDVHGVHQVRUPRGXOHVIURP0DVLPR´DQG³0DVLPR¶VFRQWHQWLRQUHPDLQV
                 XQFKDQJHG´Id.%XWZKLOH0DVLPR¶V³FRQWHQWLRQ´DOOHJHGO\UHPDLQVXQFKDQJHGLWV
                 FRPSXWDWLRQLVHQWLUHO\QHZDQGLQGHHGH[FHHGV0U.LQULFK¶VQRZVWULFNHQORVWSURILWV
                 FDOFXODWLRQE\VHYHUDO          GROODUV
                          $VWKLV&RXUWQRWHGDWWKH3UHWULDO&RQIHUHQFHHDUOLHUWKLVZHHN)HGHUDO5XOHRI
                 &LYLO3URFHGXUHUHTXLUHVDSDUW\WRGLVFORVH³DFRPSXWDWLRQRIHDFKFDWHJRU\RI
                 GDPDJHVFODLPHG´DQGWKHGRFXPHQWVDQGHYLGHQFHWKDWXQGHUSLQWKHFRPSXWDWLRQ
                 )HG5&LY3 D  $ LLL 
                          3ODLQWLIIV¶0DUFK³GLVFORVXUH´FRQILUPVWKDW3ODLQWLIIVIDLOHGWRPHHWWKHLU
                 REOLJDWLRQVXQGHU)5&3First 3ODLQWLIIVGRQRWFLWHWRDQ\SRUWLRQRIWKHLU
                 UHVSRQVHVWR$SSOH¶VLQWHUURJDWRU\VHHNLQJ3ODLQWLIIV¶GDPDJHVFRQWHQWLRQVRUDQ\
                 RWKHUGLVFORVXUHSURYLGLQJWKHLUQHZORVWSURILWVGHPDQG7KHUHLVQRQH,QVWHDG
                 3ODLQWLIIVVXJJHVWWKDWWKHLU0DUFKVXSSOHPHQWDOLQLWLDOGLVFORVXUHV³SURYLGHG
                 WKHFRPSXWDWLRQRI0DVLPR¶VGDPDJHV´([DW%XW3ODLQWLIIV¶most recent
                 VXSSOHPHQWDOLQLWLDOGLVFORVXUHVVHUYHGRQ$XJXVWVWDWHGWKDW3ODLQWLIIV³KD>G@
                 not yet made a computationRIDQ\FDWHJRU\RIGDPDJHVSXUVXDQWWR)HG5&LY3
                  D  $ LLL ´([>$PHQGHG'LVFORVXUHV@DW,QDQ\HYHQW3ODLQWLIIV¶
                                         
                   
                  3ODLQWLIIVLQGLFDWHWKH\ZLOOVHHNWRLQFUHDVHWKLVQXPEHUZKHQ$SSOHSURGXFHV
                   XSGDWHGVDOHVGDWDWKURXJKLWVPRVWUHFHQWILVFDOTXDUWHU([DW
                                                                
                       $33/(¶60(025$1'805(*$5',1*3/$,17,))6¶',6&/2685(2)/267352),76
Wilmer Cutler
                                                                        &$6(12FY-96 -'(; 
Pickering Hale     
and Dorr LLP
                   
                 Case 8:20-cv-00048-JVS-JDE Document 1443 Filed 03/17/23 Page 9 of 19 Page ID
                                                 #:139431
                   
                  0DUFKGLVFORVXUHVD\VQRWKLQJDERXWWKHDOOHJHGVHQVRUPRGXOHWKHRU\3ODLQWLIIV
                  QRZDGYDQFHRUWKHFRPSXWDWLRQRIORVWSURILWV3ODLQWLIIVQRZVHHNWRLQWURGXFHDWWULDO
                  LWVLPSO\VWDWHVWKDW                                                                                 
                                                                                                                     
                                                                                                         
                                                                                                                 
                                                                                                             
                  ([>$PHQGHG'LVFORVXUHV@DW7KLVGLVFORVXUHVLPLODUO\GRHVQRWLGHQWLI\
                  DQ\HYLGHQWLDU\EDVLVIRUWKH                         LWDVVXPHV,QVKRUW3ODLQWLIIV¶
                 UHOLDQFHRQWKHLU0DUFKLQLWLDOGLVFORVXUHVLVSODLQO\DUHGKHUULQJHVSHFLDOO\
                 FRQVLGHULQJWKDWZKHQ0U.LQULFKODWHUSURYLGHGKLV QRZVWULFNHQ GDPDJHVHVWLPDWH
                 LQ2FWREHUKHFDOFXODWHGWKDWORVWSURILWVZRXOGDPRXQWWRDPD[LPXPRI             
                          LQORVWSURILWV²           OHVV WKDQWKHPLQLPXPDPRXQWFRPSXWHGLQWKDW
                 GLVFORVXUH
                          Second3ODLQWLIIVMXVWLI\WKHLUQHZFDOFXODWLRQDVEDVHGRQVWDWHPHQWVPDGHIRU
                 WKHILUVWWLPHLQWKHLUVXPPDU\MXGJPHQWRSSRVLWLRQ²ILOHGPRQWKVDIWHUGLVFRYHU\
                 FORVHG([%XWQRZKHUHLQWKDWRSSRVLWLRQGLG3ODLQWLIIVLQGLFDWHWKHDPRXQWRI
                 WKHLUFODLPHGORVWSURILWVRUHYHQWKHDPRXQWRIDQ\VSHFLILFLQSXWWRVXFKD
                 FDOFXODWLRQ7KHWHVWLPRQ\3ODLQWLIIVFLWHGIURP0U.LDQLDQG%LODO0XKVLQLQVXSSRUW
                 RIWKHSURSRVHG³                  ´'NWDWUHIHUVWRDrangeRISULFLQJ               
                                     (YHQXQGHU3ODLQWLIIV¶RZQJHQHURXVLQWHUSUHWDWLRQWKH\DWPRVW
                 ³                                                                                  ´([
                 DW3ODLQWLIIVSURYLGHGQRLQIRUPDWLRQIRUKRZWKDWSULFHUDQJH²EDVHGRQ               
                                 ²ZRXOGWUDQVODWHWRWKHVSHFLILFSULFHRIDK\SRWKHWLFDOPRGXOHVROGWR
                 $SSOH\HDUVHDUOLHU7KHHYLGHQFH3ODLQWLIIVFLWHGZLWKUHVSHFWWR0DVLPR¶VSURILW
                 PDUJLQVLPLODUO\GLVFORVHGDUDQJHRIPDUJLQVDOVRGDWLQJIURPDQGDOVRZLWKRXW
                 DQ\H[SODQDWLRQRIKRZWKRVHRYHUDOOSURILWPDUJLQVZRXOGDOOHJHGO\WUDQVODWHWRWKH
                                                               
                       $33/(¶60(025$1'805(*$5',1*3/$,17,))6¶',6&/2685(2)/267352),76
Wilmer Cutler
                                                                        &$6(12FY-96 -'(; 
Pickering Hale     
and Dorr LLP
                   
                 Case 8:20-cv-00048-JVS-JDE Document 1443 Filed 03/17/23 Page 10 of 19 Page ID
                                                  #:139432
                    
                   PDUJLQVRQDVHQVRUPRGXOH                               See'NWDW'NW
                    ([7 $QG3ODLQWLIIVGLGQRWLGHQWLI\IURPZKLFK6HULHVRI$SSOH:DWFKRUKRZ
                   PDQ\XQLWVIURPWKRVH6HULHVWKH\LQWHQGHGWRFODLPORVWSURILWV$V³GLVFORVHG´
                   $SSOHKDGQRZD\RIGHWHUPLQLQJZKDW3ODLQWLIIVZHUHDFWXDOO\VHHNLQJEDVHGRQWKHLU
                   VXPPDU\MXGJPHQWEULHILQJ
                            ,WZDVQRWXQWLOWKHLU0DUFKHPDLOWKDW3ODLQWLIIVUHYHDOHGWKDWWKH\DUH
                   VHHNLQJ       SHUXQLWSURILWIRUHYHU\$SSOH:DWFK6HULHVDQGODWHUIRUDWRWDORI
                   PRUHWKDQ                 7KLVFDOFXODWLRQFRPHVWRRODWHSee tagTrends, Inc. v.
                   Nordstrom, Inc.:/DW  &'&DO6HSW  6HOQD- 
                      ILQGLQJ³>S@ODLQWLIIV¶IDLOXUHWRGLVFORVXUHWKHLUGDPDJHVFRPSXWDWLRQSULRUWRWKHILOLQJ
                  RIWKHLU>VXPPDU\MXGJPHQWRSSRVLWLRQ@ZDVFOHDUO\XQMXVWLILHG´ Hoffman v. Constr.
                  Prot. Servs., Inc.)G WK&LU  DIILUPLQJGLVWULFWFRXUW¶VRUGHU
                  H[FOXGLQJGDPDJHVHYLGHQFHEHFDXVHWKH\ZHUHQRWGLVFORVHGDVRIWKHWLPHRIPRWLRQV
                  in limine 
                           %HFDXVH3ODLQWLIIV¶GLVFORVXUHRIWKHLUORVWSURILWVWKHRU\ZDVXQWLPHO\LWPXVW
                  EHH[FOXGHGXQGHU)5&3 F  XQOHVV³WKHIDLOXUHWRGLVFORVHZDVVXEVWDQWLDOO\
                  MXVWLILHGRUKDUPOHVV´tagTrends, Inc.:/DW see alsoYeti by
                  Molly, Ltd. v. Deckers Outdoor Corp.)G WK&LU  ³5XOH
                   F  JLYHVWHHWKWRWKHVHUHTXLUHPHQWVE\IRUELGGLQJWKHXVHDWWULDORIDQ\
                  LQIRUPDWLRQUHTXLUHGWREHGLVFORVHGE\5XOH D WKDWLVQRWSURSHUO\GLVFORVHG´ 
                  3ODLQWLIIVFDQQRWUHDVRQDEO\PHHWWKHLUEXUGHQWRVKRZVXEVWDQWLDOMXVWLILFDWLRQRU
                  KDUPOHVVQHVV3ODLQWLIIVKDYHEHHQRQQRWLFHWKURXJKRXWWKLVFDVHWKDWWKH\ZHUH
                  UHTXLUHGWRWLPHO\GLVFORVHWKHLUGDPDJHVGHPDQGVDQGWKHRULHV,QVWHDGWKH\ZDLWHG
                  XQWLOWKHHOHYHQWKKRXUWRLQIRUP$SSOHWKDWWKH\LQWHQGWRVHHN            PRUHWKDQWKH\
                  KDGHYHUSUHYLRXVO\VRXJKWDQGRQO\PDGHWKLVGLVFORVXUHEHFDXVHWKLV&RXUWGLUHFWHG
                  WKHPWRGRVR$SSOHVKRXOGQRWEHIRUFHGWRVFUDPEOHWRGHIHQGLWVHOIDJDLQVWDQHZ
                  GDPDJHVWKHRU\WKDWLWKDVKDGQRUHDORSSRUWXQLW\WRSUHSDUHIRU
                                                                  
                        $33/(¶60(025$1'805(*$5',1*3/$,17,))6¶',6&/2685(2)/267352),76
Wilmer Cutler
                                                                         &$6(12FY-96 -'(; 
Pickering Hale      
and Dorr LLP
                    
                 Case 8:20-cv-00048-JVS-JDE Document 1443 Filed 03/17/23 Page 11 of 19 Page ID
                                                  #:139433
                    
                   II.      PLAINTIFFS’ NEW LOST PROFIT DISCLOSURE RELIES ON STRICKEN AND
                            UNTIMELY DISCLOSED INFORMATION.
                            (YHQLIQRWH[FOXGHGDVJURVVO\XQWLPHO\3ODLQWLIIV¶QHZFDOFXODWLRQVKRXOGEH
                   H[FOXGHGEHFDXVHLWFRQWLQXHVWREHSUHPLVHGRQXQWLPHO\GLVFORVHGDQGDOUHDG\
                   VWULFNHQLQIRUPDWLRQ
                            First3ODLQWLIIV¶QHZORVWSURILWVFDOFXODWLRQUHOLHVRQSUHFLVHO\WKHVDPHW\SHRI
                   K\SRWKHWLFDOIDFWZLWQHVVRSLQLRQWKDWWKH&RXUWKDVDOUHDG\GHHPHGLPSURSHUDEVHQWD
                   IXOO)5&3 D  % H[SHUWUHSRUW,QJUDQWLQJ$SSOH¶VPRWLRQWRVWULNHWKH)5&3
                    D  & GLVFORVXUHRI0U0XKVLQWKH&RXUWH[SODLQHGWKDWWKHGLVFORVXUH³YHHU>HG@
                  IURP>0U0XKVLQ¶V@SHUFLSLHQWNQRZOHGJH«ZKHQKHRSLQH>G@RQWKHK\SRWKHWLFDO
                  VFHQDULRRIZKDW0DVLPRwould have done                                                 
                                                    ´'NWDW LQWHUQDOTXRWDWLRQPDUNVRPLWWHG see
                  also Chaudhry v. Smith:/DW  ('&DO)HE 
                      ³>2@SLQLRQVGHYHORSHGDWDODWHUWLPHRUXSRQDK\SRWKHWLFDOVHWRIIDFWV«>DUH@
                  LQDGPLVVLEOHRSLQLRQWHVWLPRQ\´ZLWKRXWD)5&3 D  % UHSRUW ,QWKHLU
                  PHPRUDQGXPRIIDFWDQGODZ3ODLQWLIIVLQGLFDWHWKH\LQWHQGWRHOLFLWWKHVDPH
                  LPSURSHURSLQLRQWHVWLPRQ\VLPSO\WKURXJKDGLIIHUHQWH[HFXWLYH6SHFLILFDOO\
                  3ODLQWLIIVQRZVWDWHWKDW³                                                                  
                                                                                                           ´WR
                  $SSOH'NWDW+DGWKLVLQWHQGHGWHVWLPRQ\EHHQGLVFORVHGZKHQ0U
                  0XKVLQ¶VZDV$SSOHZRXOGKDYHPRYHGWRVWULNHLWWRR3ODLQWLIIVVKRXOGQRWEH
                  SHUPLWWHGWRVLPSO\UHSDFNDJHWKHVDPHH[FOXGHGRSLQLRQE\LQWURGXFLQJLWWKURXJKD
                  GLIIHUHQWZLWQHVV
                           3ODLQWLIIVVLPLODUO\DVVHUWWKDW³.LDQL0XKVLQDQG6FUXJJVZLOOWHVWLI\WKDWQR
                  WHFKQRORJLFDOEDUULHUSUHYHQWHG0DVLPRIURPGHVLJQLQJ                                       
                                              ´'NWDW%XWRQFHDJDLQVXFKJHQHUDOL]HGDQG
                  FRQFOXVRU\WHVWLPRQ\QHFHVVDULO\LQYROYHVK\SRWKHWLFDORSLQLRQEHFDXVH0DVLPRQHYHU
                                                                  
                        $33/(¶60(025$1'805(*$5',1*3/$,17,))6¶',6&/2685(2)/267352),76
Wilmer Cutler
                                                                         &$6(12FY-96 -'(; 
Pickering Hale      
and Dorr LLP
                    
                 Case 8:20-cv-00048-JVS-JDE Document 1443 Filed 03/17/23 Page 12 of 19 Page ID
                                                  #:139434
                    
                   VXSSOLHGDVHQVRUPRGXOHto Apple7KLV&RXUWDOUHDG\³expressly excludedWKLV
                   SRUWLRQRIWKH0XKVLQGLVFORVXUH´UHJDUGLQJ0DVLPR¶VSXUSRUWHGDELOLW\WR³             
                                                                                          FRQWHPSODWHGE\
                   3ODLQWLIIV¶ORVWSURILWVWKHRU\³EHFDXVHVXFKRSLQLRQVZHQWEH\RQG0XKVLQ¶VSHUFLSLHQW
                   NQRZOHGJH´'NWDW
                            3ODLQWLIIVDOVRVWDWHWKDWWRSURYHGDPDJHV³.LDQL0XKVLQDQG6FUXJJVZLOODOVR
                   WHVWLI\WRWKHWHFKQLFDOFDSDELOLWLHVDQGDFFXUDF\RIWKH                        ´'NW
                   DW7KHDOOHJHGDFFXUDF\                 KDVQHYHUEHHQGLVFORVHGDVUHOHYDQW
                   WRGDPDJHVSee ([>3OV1LQWK6XSS5HVSWR5RJ@ 3ODLQWLIIV¶GDPDJHV
                  FRQWHQWLRQVZKLFKPDNHQRUHIHUHQFHWR                                7KLV&RXUW
                  SUHYLRXVO\H[FOXGHG$SSOH¶VWHFKQLFDOH[SHUW¶VWHVWLQJVKRZLQJWKHDFFXVHGIHDWXUH
                  SXUSRUWHGO\UHODWLQJWRRQHDOOHJHGWUDGHVHFUHWGRHVQRWDIIHFWWKHDFFXUDF\RI$SSOH
                  :DWFK LQFOXGLQJDVFRPSDUHGWR0DVLPR¶V:ZDWFK EHFDXVHWKDWWKHRU\ZDVQRW
                  GLVFORVHGGXULQJIDFWGLVFRYHU\'NWDW3ODLQWLIIVVKRXOGVLPLODUO\EH
                  SUHFOXGHGIURPLQWURGXFLQJXQGLVFORVHGHYLGHQFHUHJDUGLQJWKHLUDOOHJHG            
                              DFFXUDF\
                           ,QVKRUW3ODLQWLIIV¶QHZORVWSURILWFDOFXODWLRQUHOLHVRQWKHVDPH³QRZH[FOXGHG
                  RSLQLRQWKDW0DVLPRZRXOGKDYHSURYLGHGDVHQVRUPRGXOHWR$SSOHDQGWKHHVWLPDWHG
                  WLPHOLQHRQZKLFK0DVLPRZRXOGKDYHGRQHVR´'NWDW%HFDXVHLWLVEXLOW
           
           
                                                   
                  
                     3ODLQWLIIV¶0DUFKHPDLOVWDWHVWKDWWKH\ZLOOEHFODLPLQJORVWSURILWVIRU³XQLWVRI
                  6HULHVDQGODWHU$SSOH:DWFKHV´([DW%XWWKH\KDYHQREDVLVIRUZK\WKHLU
                    SXUSRUWHGORVWSURILWVEHJLQZLWK6HULHVXQOHVVWKH\LQWURGXFHK\SRWKHWLFDORSLQLRQ
                  WHVWLPRQ\DERXWZKHQWKHPRGXOHZRXOGEHFRPSOHWHGZKLFKWKLV&RXUWKDVH[FOXGHG
                    'NWDW
                  
                     7RWKHH[WHQW3ODLQWLIIVDUHSHUPLWWHGWRLQWURGXFHDQ\VXFKHYLGHQFHUHJDUGLQJ
                  DFFXUDF\RIWKHLU::DWFKRUVHQVRUPRGXOHDQGVXJJHVWDQ\UHOHYDQFHRIWKDW
                    HYLGHQFHWRWKHYDOXHRIWKHDOOHJHGWUDGHVHFUHWRUGDPDJHV$SSOHVKRXOGEHSHUPLWWHG
                  WRUHVSRQGZLWKLWVWHVWLQJHYLGHQFHVKRZLQJWKDWWKHDFFXVHGIHDWXUHVGRQRWSURYLGH
                    DQ\LPSURYHGDFFXUDF\WR$SSOH:DWFK
                                                                
                        $33/(¶60(025$1'805(*$5',1*3/$,17,))6¶',6&/2685(2)/267352),76
Wilmer Cutler
                                                                         &$6(12FY-96 -'(; 
Pickering Hale      
and Dorr LLP
                    
                 Case 8:20-cv-00048-JVS-JDE Document 1443 Filed 03/17/23 Page 13 of 19 Page ID
                                                  #:139435
                    
                   RQWKHVDPHIRXQGDWLRQDV0U.LQULFK¶VVWULFNHQORVWSURILWVWKHRU\WKLVQHZ
                   FDOFXODWLRQPXVWDOVRIDOO
                            SecondWKH³HYLGHQFH´RQZKLFK3ODLQWLIIVQRZUHO\WRFDOFXODWHWKHLUQHZ
                   DOOHJHGSHUXQLWORVWSURILWVZDVQRWWLPHO\GLVFORVHGQRULVLWDGPLVVLEOHIRUVXFK
                   SXUSRVH3ODLQWLIIVDOOHJHWKH\FDOFXODWHGWKHLUQHZORVWSURILWVGHPDQGEDVHGRQ  
                   GHSRVLWLRQWHVWLPRQ\RI0U.LDQLDOOHJHGO\³                                                        
                                                                                                                    ´DQG  
                   DGRFXPHQWVKRZLQJWKDW0DVLPR¶V³SURILWPDUJLQLVDERXWGHSHQGLQJRQWKH
                   \HDU´([DW1HLWKHULQSXWZDVVXIILFLHQWO\GLVFORVHG
                           7KHFLWHGGHSRVLWLRQWHVWLPRQ\IURP0U.LDQLUHODWHVVSHFLILFDOO\WRDOOHJHG
                                                                           
                                                                                                               
                                                                                           
                                                                                                             
           
                                             
                                                                                                       
                                                                                       
                                                                      
           
                                                                  
                                                                                           
                                                                                                   
                                                                                                           
                                                    
                                                                                                   
                                                                                               
                                                                                                   
                                                                      
           
                                                                                     
                                                                                 
           
                                                                      
           
                                                                
                        $33/(¶60(025$1'805(*$5',1*3/$,17,))6¶',6&/2685(2)/267352),76
Wilmer Cutler
                                                                         &$6(12FY-96 -'(; 
Pickering Hale      
and Dorr LLP
                    
                 Case 8:20-cv-00048-JVS-JDE Document 1443 Filed 03/17/23 Page 14 of 19 Page ID
                                                  #:139436
                    
                                                                       
                                                   
                                    
             
                    'NW>.LDQL'HS7U@DW
             
                             1RWDEO\                                                                      
             
                                                              'NW>0XKVLQ'HS7U@DW
             
                     DGPLWWLQJ                                                                            
             
                                                                                                        
             
                                                  'NW>.LDQL'HS7U@DW
             
                        DGPLWWLQJWKDW³                                                                            
           
                                                           ´ ,QDQ\HYHQW3ODLQWLIIVQHYHULGHQWLILHGWKLV
           
                    DOOHJHG                        DVUHOHYDQWWRDQ\FDOFXODWLRQRIORVWSURILWVGXULQJ
           
                    GLVFRYHU\7RWKHFRQWUDU\LQUHVSRQVHWR$SSOH¶VLQWHUURJDWRU\VHHNLQJ3ODLQWLIIV¶
           
                    GDPDJHVFRQWHQWLRQ3ODLQWLIIVLGHQWLILHGDV³IDFWVWKDWPD\EHXVHGto determine a
           
                    reasonable royalty LQWKLVPDWWHU´WKDW³                                                          
           
                                                                                                        
           
                                                                                   ´DQGWKDW                 
           
                                                                                                        
           
                                                                                           ´([DW
           
                    $QGLQKLVQRZVWULFNHQRSLQLRQUHJDUGLQJWKH³>                                           ´0U
           
                    .LQULFKRSLQHGWKDW0DVLPR¶V                               ZRXOGnotKDYHEHHQWKHSULFH
           
                    DJUHHGWRE\$SSOHDQG0DVLPRLQWKHEXWIRUZRUOGSee 'NW>.LQULFK5SW@
           
                    DW7RDOORZ3ODLQWLIIVWRSURFHHGZLWKD               GROODUGDPDJHVWKHRU\
           
                    EXLOWRQDQLQSXWWKDWZDVQRWRQO\not GLVFORVHGIRUWKDWSXUSRVHEXWWKDW3ODLQWLIIV¶
           
                    RZQH[SHUWDVVXUHGZRXOGnotEHXVHGLQVXFKDZD\LVWKHDQWLWKHVLVRIWKHGLVFORVXUH
           
                    UHTXLUHPHQWVRI)5&3
           
           
                                                                 
                        $33/(¶60(025$1'805(*$5',1*3/$,17,))6¶',6&/2685(2)/267352),76
Wilmer Cutler
                                                                        &$6(12FY-96 -'(; 
Pickering Hale      
and Dorr LLP
                    
                 Case 8:20-cv-00048-JVS-JDE Document 1443 Filed 03/17/23 Page 15 of 19 Page ID
                                                  #:139437
                    
                            0RUHRYHU0U.LDQL¶VWHVWLPRQ\DERXW                                DQG
                   WKHUHIRUH3ODLQWLIIV¶ORVWSURILWVWKHRU\EXLOWXSRQLW PXVWEHH[FOXGHGDVLQDGPLVVLEOH
                   KHDUVD\3ODLQWLIIVVHHNWRKDYH0U.LDQLWHVWLI\DERXWDQRXWRIFRXUWVWDWHPHQWIRU
                   SXUSRVHVRILWVWUXWK²LHKRZPXFK                                                   
                             3ODLQWLIIVKDYHQHYHULGHQWLILHGRUSURGXFHGDQ\GRFXPHQW²OHWDORQHRQHWKDW
                   ZRXOGPHHWDQ\KHDUVD\H[FHSWLRQ²WRVXEVWDQWLDWHWKLV                   1RUKDYH
                   3ODLQWLIIVLGHQWLILHGDQ\UHDVRQRUZLWQHVVZKRFRXOGH[SODLQZK\                        
                                       ZRXOGEHDQDSSURSULDWHSULFHIRUK\SRWKHWLFDOPRGXOHVDOHVWR$SSOH
                   WKDWDOOHJHGO\ZRXOGKDYHRFFXUUHG\HDUVEHIRUH
                           3ODLQWLIIV¶DOOHJHGHYLGHQFHRIWKHSURILWPDUJLQWKH\ZRXOGKDYHHDUQHGRQWKHVH
                  LPDJLQHGVDOHVIDUHVQREHWWHU3ODLQWLIIVLGHQWLI\DQ6(&.ILOLQJUHSRUWLQJ
                  FRPSDQ\ZLGHJURVVPDUJLQVRIIRUWKH\HDUHQGLQJ-DQXDU\DQG
                  IRUWKH\HDUHQGLQJ-DQXDU\DVHYLGHQFHRIWKHDSSOLFDEOHSURILWPDUJLQZKLFK
                  WKH\FODLPLVIRUWKHLUFDOFXODWLRQ([DW FLWLQJ'NW ([7WR
                  3ODLQWLIIV¶VXPPDU\MXGJPHQWRSSRVLWLRQ>0$6$@ %XWDWQRSRLQWGXULQJ
                  IDFWGLVFRYHU\GLG3ODLQWLIIVGLVFORVHDQLQWHQWWRUHO\RQ0DVLPR¶VFRPSDQ\ZLGH
                  SURILWPDUJLQVDVDEDVLVIRUDQ\ORVWSURILWVFDOFXODWLRQ,QGHHGWKH.FLWHGLQ
                  3ODLQWLIIV¶HPDLODQGVXPPDU\MXGJPHQWRSSRVLWLRQZDVQHYHUFLWHGLQWKHLUGDPDJHV
                  FRQWHQWLRQVSee ([0RUHRYHUDVQRWHGDERYH0DVLPRKDV                             
                             VRWKHUHLVQREDVLVRQZKLFKWRDVVXPHWKLVSURILWPDUJLQZRXOGEHDSSOLFDEOH
                  WRWKDWSURGXFW)XUWKHUDVZLWK0DVLPR¶VDOOHJHGSULFLQJHYLGHQFHWKLVPDUJLQSRVW
                  GDWHVWKHDOOHJHGVHQVRUVDOHVWR$SSOHE\PDQ\\HDUV
                           )LQDOO\3ODLQWLIIVRIIHUDQDOWHUQDWLYHEDVLVIRUWKHLUQHZ          
                  FDOFXODWLRQE\³VWDUWLQJDW0DVLPR¶VSHUXQLWPDQXIDFWXULQJFRVWVDQGDSSO\LQJLWV
                                             
                    
                   3ODLQWLIIVDUJXHLQWKHLUPHPRUDQGXPRIIDFWDQGODZWKDW³>W@KHDPRXQWRIGDPDJHV
                    QHHGQRWEHFDOFXODWHGZLWKSUHFLVLRQ´'NWDW%XWWKDWSULQFLSOHLVLUUHOHYDQW
                  KHUHZKHUH3ODLQWLIIVKDYHQRWSURYLGHGDQ\DGPLVVLEOHEDVLVWRFDOFXODWHWKHLUDOOHJHG
                    ORVWSURILWV
                                                              
                        $33/(¶60(025$1'805(*$5',1*3/$,17,))6¶',6&/2685(2)/267352),76
Wilmer Cutler
                                                                        &$6(12FY-96 -'(; 
Pickering Hale      
and Dorr LLP
                    
                 Case 8:20-cv-00048-JVS-JDE Document 1443 Filed 03/17/23 Page 16 of 19 Page ID
                                                  #:139438
                    
                   SURILWPDUJLQ´([DW+HUHWRR3ODLQWLIIVPDNHH[SOLFLWWKHLULQWHQWLRQWRFRQWLQXH
                   WRUHO\RQLQIRUPDWLRQWKLV&RXUWKDVDOUHDG\VWULFNHQSRLQWLQJWR³DVSUHDGVKHHW
                       0$6$ WKDWGRFXPHQWV0DVLPR¶VFRVWVWRPDQXIDFWXUH                                 
                                            ´Id.7KLV&RXUWKDVQRZtwiceH[FOXGHGWKDWVDPHVSUHDGVKHHW
                   PRVWUHFHQWO\LQLWVUXOLQJJUDQWLQJ$SSOH¶VDaubertPRWLRQREVHUYLQJWKDW
                   ³3ODLQWLIIVSURIIHUHGWKH0DQXIDFWXULQJ&RVW'DWD´EXW³>W@KLVGRFXPHQWLVDQ
                   DQDO\VLVSUHSDUHGE\3ULGGHOOWKDWWKH&RXUWH[FOXGHGLQDSUHYLRXVRUGHUDVH[FHHGLQJ
                   3ULGGHOO¶VSHUFLSLHQWNQRZOHGJHDQGEHLQJSUHSDUHGLQDQWLFLSDWLRQRIOLWLJDWLRQ´'NW
                   DW
                           ,QVKRUWWKHLQSXWVUHTXLUHGWRFDOFXODWH3ODLQWLIIV¶SXUSRUWHGORVWSURILWVZHUH
                  QRWSURSHUO\GLVFORVHGDQGVKRXOGEHUXOHGLQDGPLVVLEOH%HFDXVHWKHUHLVQR
                  DGPLVVLEOHPHDQVE\ZKLFK3ODLQWLIIVFDQSUHVHQWWKHLUFDOFXODWLRQ3ODLQWLIIVVKRXOGEH
                  SUHFOXGHGIURPVHHNLQJORVWSURILWVDWWULDO
                  III.     PLAINTIFFS’ NEW LOST PROFIT CANNOT BE PRESENTED WITHOUT A FRCP
                           26(A)(2)(B) EXPERT WITNESS.
                           ,QDGGLWLRQWRVXIIHULQJIURPWKHQXPHURXVGLVFORVXUHDQGHYLGHQWLDU\LVVXHV
                  DERYH3ODLQWLIIV¶QHZ³WKHRU\´LVXQUHOLDEOHDQGQRWSURSHUVXEMHFWPDWWHUWREH
                  LQWURGXFHGWRDMXU\DEVHQWVSRQVRULQJH[SHUWRSLQLRQSee, e.g.Centricut, LLC v.
                  Esab Grp., Inc.)GQ )HG&LU  ³>5@HOHYDQWH[SHUW
                  WHVWLPRQ\UHJDUGLQJPDWWHUVEH\RQGWKHFRPSUHKHQVLRQRIOD\SHUVRQVLVVRPHWLPHV
                  HVVHQWLDO>@´ FROOHFWLQJFDVHV +HUHWKDW3ODLQWLIIV¶QHZORVWSURILWVFDOFXODWLRQLV
                  QHDUO\double0U.LQULFK¶VVWULFNHQFDOFXODWLRQVDORQHFDVWVGRXEWRQWKHUHOLDELOLW\RI
                  WKLVQHZFDOFXODWLRQ%XWDUHYLHZRIWKHQHZQXPEHUVKRZVWKDWLWVRPXFKKLJKHU
                  WKDQ0U.LQULFK¶VSUHFLVHO\EHFDXVHLWVNLUWVWKHQHFHVVDU\IDFWRUVUHTXLUHGWRSURIIHUD
                  UHOLDEOHGDPDJHVQXPEHU,QIDFW3ODLQWLIIV¶QHZORVWSURILWVFDOFXODWLRQLVDWRGGV
                  ZLWK0U.LQULFK¶VVWULFNHQFDOFXODWLRQV²PDNLQJWKHQHZFDOFXODWLRQVHYHQPRUH
                  SUREOHPDWLFWKDQ0U.LQULFK¶V ZKLFKZHUHWKHPVHOYHVGHHSO\IODZHG $V0U
                                                                   
                        $33/(¶60(025$1'805(*$5',1*3/$,17,))6¶',6&/2685(2)/267352),76
Wilmer Cutler
                                                                        &$6(12FY-96 -'(; 
Pickering Hale      
and Dorr LLP
                    
                 Case 8:20-cv-00048-JVS-JDE Document 1443 Filed 03/17/23 Page 17 of 19 Page ID
                                                  #:139439
                    
                   .LQULFK¶VVWULFNHQFDOFXODWLRQVUHFRJQL]HGGDWDIURPDQGODWHUQHHGVWREH
                   DGMXVWHGWREHUHOLDEO\XVHGWRFDOFXODWHSURILWVDOOHJHGO\HDUQHG\HDUVHDUOLHU)RU
                   H[DPSOH0U.LQULFKDFNQRZOHGJHGWKDWHYHQLIWKHDOOHJHGPDQXIDFWXULQJFRVW
                   GDWDZDVDGPLVVLEOH DQGLWLVQRW LWVKRXOGQRWEHXVHGDVLVEXWZRXOGQHHGWREH
                   DGMXVWHG LQFOXGLQJIRUWKHWLPHYDOXHRIPRQH\ LQRUGHUWRFDOFXODWH3ODLQWLIIV¶
                   SXUSRUWHGORVWSURILWVSee, e.g.'NW>.LQULFK5SW@DW                     
                                                                                                                     
                            ´ 0RUHRYHUDV0U.LQULFKDOVRDFNQRZOHGJHGHYHQDPRGXOHSULFHRI         
                       VLJQLILFDQWO\OHVVWKDQWKH    3ODLQWLIIVQRZSURIIHU([DW ZRXOGKDYH
                  UHTXLUHG$SSOHWRLQFUHDVHLWV:DWFKSULFLQJDQGDFFRUGLQJO\VHOOIHZHUZDWFKHV
                  'NW>.LQULFK5SW@DW3ODLQWLIIV¶QHZFDOFXODWLRQLVLQFRQVLVWHQWZLWK
                  WKHVHEDVLFHFRQRPLFUHDOLWLHVDQGWKH\VKRXOGQRWEHSHUPLWWHGWRSURFHHGZLWKDQ
                  XQGLVFORVHGORVWSURILWVFDOFXODWLRQWKDWZRXOGDFWXDOO\IO\LQWKHIDFHRIZKDWWKHLU
                  H[SHUWGLGGLVFORVH6XFKDFDOFXODWLRQZRXOGQRWSDVVPXVWHUXQGHUDaubert
                  3ODLQWLIIVVKRXOGQRWEHUHZDUGHGZLWKDVXEVWDQWLDOO\KLJKHUGDPDJHVGHPDQGE\
                  SURIIHULQJDSDWHQWO\XQUHOLDEOHFDOFXODWLRQZLWKRXWDQH[SHUWSDUWLFXODUO\ZKHUH$SSOH
                  KDVKDGLQVXIILFLHQWQRWLFHRURSSRUWXQLW\WRUHVSRQGLQFOXGLQJWKURXJKLWVRZQ
                  H[SHUWV
                                                         CONCLUSION
                           $SSOHUHVSHFWIXOO\VXEPLWVWKDWDWWKLVVWDJHDQGGXHWRWKHGLVFORVXUHGHILFLHQFLHV
                  GHVFULEHGDERYH3ODLQWLIIVVKRXOGEHSUHFOXGHGIURPVHHNLQJDQ\ORVWSURILWVGDPDJHV
                  DWWULDODQGUHTXHVWVDFRQIHUHQFHZLWKWKH&RXUWWRGLVFXVVWKLVLVVXH
                                            

           
           
           
           
                                                                  
                        $33/(¶60(025$1'805(*$5',1*3/$,17,))6¶',6&/2685(2)/267352),76
Wilmer Cutler
                                                                        &$6(12FY-96 -'(; 
Pickering Hale      
and Dorr LLP
                    
                 Case 8:20-cv-00048-JVS-JDE Document 1443 Filed 03/17/23 Page 18 of 19 Page ID
                                                  #:139440
                    
                   'DWHG 0DUFK                 5HVSHFWIXOO\VXEPLWWHG
                   
                                                             
                                                            -26(3+-08(//(5
                                                            0$5.'6(/:<1
                                                             $0<.:,*025(
                                                            -26+8$+/(51(5
                                                            6$5$+5)5$=,(5
                                                             125$4(3$66$0$1(&.
                                                            7+20$6*635$1./,1*
                                                            :,/0(5&87/(53,&.(5,1*+$/($1'
                                                             '255//3
                   
                                                           %5,$1$526(17+$/
                                                             *,%621'811 &587&+(5//3
                                                           
                                                           .(11(7+*3$5.(5
                                                             +$<1(6$1'%221(//3
                                                           
           
                                                           %\ VMark D. Selwyn                    
                                                                0DUN'6HOZ\Q
                                                                  
           
                                                             Attorneys for Defendant Apple Inc.
           
           
           
           
           
           
           
           
           
           
                                                                
                        $33/(¶60(025$1'805(*$5',1*3/$,17,))6¶',6&/2685(2)/267352),76
Wilmer Cutler
                                                                        &$6(12FY-96 -'(; 
Pickering Hale      
and Dorr LLP
                    
                 Case 8:20-cv-00048-JVS-JDE Document 1443 Filed 03/17/23 Page 19 of 19 Page ID
                                                  #:139441

             1                              CERTIFICATE OF COMPLIANCE
             2            The undersigned, counsel of record for Defendant Apple, Inc., certifies that this
             3      brief contains 4077 words, which [choose one]:
             4            X complies with the word limit of L.R. 11-6.1
             5                complies with the word limit set by court order dated [date].
             6
             7      Dated: March 17, 2023                 Respectfully submitted,

             8
             9                                            MARK D. SELWYN
                                                          AMY K. WIGMORE
           10                                             JOSHUA H. LERNER
           11                                             SARAH R. FRAZIER
                                                          NORA Q.E. PASSAMANECK
           12                                             THOMAS G. SPRANKLING
           13                                             WILMER CUTLER PICKERING HALE AND
                                                          DORR LLP
           14
           15                                             BRIAN A. ROSENTHAL
                                                          GIBSON, DUNN & CRUTCHER LLP
           16
           17                                             KENNETH G. PARKER
                                                          HAYNES AND BOONE, LLP
           18
           19
           20                                             By: /s/ Mark D. Selwyn
                                                              Mark D. Selwyn
           21
           22
                                                          Attorneys for Defendant Apple Inc.
           23
           24
           25
           26
           27
           28
                     APPLE’S MEMORANDUM REGARDING PLAINTIFFS’ DISCLOSURE OF LOST PROFITS
Wilmer Cutler
                                                            15           CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
